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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
OCALA DIVISION
STACY HASLAM,
Plaintiff,
VS. CASE NO.: 5: l7`C\/_LJQS_O<__ SO(PRL

RED ROBIN INTERNATIONAL, INC., a
Foreign For Proiit Corporation,

Defendant. /
COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, STACY HASLAM, by and through the undersigned attorney, sues the
Defendant, RED ROBIN INTERNATIONAL, INC., a Florida Corporation, and
alleges!

1. Plaintiff, STACY HASLAM, was an employee of Defendant and brings
this action for unpaid minimum wages, liquidated damages, and all other applicable
relief under the Fair Labor Standards Act, as amended, 29 U.S.C. § 216(b) (“FLSA”).

General A]legations

2. Plaintiff, STACY HASLAM was an employee who worked at Defendant’s
property within the last three years in Brevard County, Florida.

3. Plaintiff, STACY HASLAM, worked for Defendant as an hourly paid
server/waitress

4. Plaintiff, STACY HASLAM, was paid an hourly rate of $5.03 plus tips.

5. Defendant, RED ROBIN INTERNATIONAL, INC., claimed a tip credit

of $2.03 per hour for all hours worked by Plaintiff.

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6. Defendant, RED ROBIN INTERNATIONAL, INC., is a Foreign for profit
Corporation that operates and conducts business in Brevard County, Florida and is
therefore, within the jurisdiction of this Court.

'7. Defendant, RED ROBIN INTERNATIONAL, INC., operates as a diner
specializing in “gourmet burgers and brews”. Defendant allows customers to order via
their Website online. Defendant also provides catering options to customers See
www.RedRobin.com

8. This action is brought under the FLSA to recover from Defendant
minimum wage compensation, liquidated damages, and reasonable attorneys’ fees and
costs.

9. This Court has jurisdiction over Plaintiffs claims pursuant to 28 U.S.C.
§1331 and the FLSA.

10. During Plaintiffs employment, Defendant, RED ROBIN
INTERNATIONAL, INC., earned more than $500,000.00 per year in gross sales.

11. Defendant, RED ROBIN INTERNATIONAL, INC., employed in excess of
one thousand (1,000) employees and paid these employees plus earned a profit from
their business.

12. During Plaintiffs employment, Defendant, RED ROBIN
INTERNATIONAL, INC., employed at least two employees who handled goods,
materials and supplies which travelled in interstate commerce, such as food products,
alcoholic and non~alcoholic beverages, to~go boxes, utensils, napkins, restaurant

equipment, and other items used to run the business.

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13. Therefore, at all material times relevant to this action, Defendant, RED
ROBIN INTERNATIONAL, INC., was an enterprise covered by the FLSA, and as
defined by 29 U.S.C. §203(r) and 203(3).

14. Additionally, Plaintiff, STACY HASLAM, was/is individually covered
under the FLSA.

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15. At all times relevant to this action, Defendant failed to comply with the
FLSA because Plaintiff performed services for Defendant for which no provisions were
made by Defendant to properly pay Plaintiff the minimum wage for all hours worked.

16. During her employment with Defendant, Plaintiff Was not paid the
minimum wage for all hours worked.

17. Based upon these above policies, Defendant has violated the FLSA by
failing to pay the minimum wage.

18. Upon information and belief, the records, to the extent any exist,
concerning the number of hours worked and amounts paid to Plaintiff are in the
possession and custody of Defendant.

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19. Plaintiif reincorporates and readopts all allegations contained within
Paragraphs 1'18 above as though stated fully herein.

20. Plaintiff is/was entitled to be paid the minimum wage for all hours
worked during her employment

21. During her employment with Defendant, Plaintiff worked a significant

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amount of time without receiving the minimum wage.

22. Specifically, Plaintiff received a direct wage from Defendant in the
amount of $5.03 per hour.

23. Defendant claimed a tip credit in the amount of $2.03 per hour because
Plaintiff was a server collecting tips from customers

24. However, Plaintiff was asked and required to spend a substantial
amount of time in the back of the restaurant washing dishes and utensils for
Defendant.

25. Specifica]ly, Plaintiff was required to spend a substantial portion of each
shift in the “wash pit” Where she was unable to earn tips from customers

26. While working in the “wash pit”, Defendant continued to compensate
Plaintiff at the $5.03/h0ur rate even though she had no ability to earn tips.

27. Plaintiff estimates that she spent more than twenty percent (20%) of her
time cleaning dishes and utensils in the back of house.

28. That said, Defendant is not entitled to claim a tip credit for any of the
hours Plaintiff worked during her employment with Defendant.

29. Defendant did not have a good faith basis for their decision not to pay
Plaintiff full minimum wage compensation.

30. As a result of Defendant’s intentional, willful and unlawful acts in
refusing to pay Plaintiff the minimum wage for each hour worked, Plaintiff has
suffered damages plus incurring reasonable attorneys’ fees and costs.

31. As a result of Defendant’s willful violation of the FLSA, Plaintiff is

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entitled to liquidated damages

32. Plaintiff demands a trial by jury.

WHEREFORE, Plaintiff, STACY HASLAM demands judgment against
Defendant for unpaid minimum wage compensation, liquidated damages reasonable
attorneys’ fees and costs incurred in this action, declaratory relief, and any and all
further relief that this Court determines to be just and appropriate

Dated this 39 day of August, 2017

 

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